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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

     Civil Action Number: 16-cv-23850-MGC

     ANDRES GOMEZ

            Plaintiff,
     vs

     GUCCI AMERICA, INC.

           Defendant.

                                  NOTICE OF SETTLEMENT


            Plaintiff, Andres Gomez, by and through his undersigned counsel, hereby

     provides notice that the parties have reached a settlement and will be executing a

     confidential settlement agreement resolving all claims and matters in this case. Upon

     execution of a confidential settlement agreement, parties will file a stipulated motion to

     dismiss this action with prejudice.

            Respectfully submitted on this 20th day of October, 2016.



                                                 s/ Scott R. Dinin
                                                 Scott R. Dinin
                                                 SCOTT R. DININ P.A.
                                                 4200 NW 7th Avenue
                                                 Miami, Florida 33127
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                                                 Counsel for Plaintiff




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                                   CERTIFICATE OF SERVICE

            I hereby certify that on this this 20th day of October, 2016, the foregoing

     NOTICE OF SETTLEMENT was filed electronically using the U.S. Court’s CM/ECF,

     which caused a copy of the same to be served electronically to:

     Arnold Gellman, Esq.
     4090 Laguna Street, 2nd Floor
     Coral Gables, Florida 33146
     Tel: (305) 774-1700
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     Attorney for Defendant

                                                                s/ Scott R. Dinin




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